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                         CENTRAL DISTRICT OF CALIFORNIA
13

14
      JOSE FERNANDEZ, ET AL,                     Case No. 2:17-cv-06104-MWF-JC
                                                 (consolidated with Case No.: 2:17-cv-
15                Plaintiffs,                    06120-GW-RAO)

16                v.                             PLAINTIFFS’ REPLY IN
                                                 RESPONSE TO FEBRUARY 1, 2019
17    BANK OF AMERICA, N.A.; and                 ORDER [DKT. 57]
      DOES 1 through 10, inclusive,
18
                  Defendant.
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20 JOSHUA B. BOSWELL, ET.                        (Assigned to Hon. Michael W. Fitzgerald)
   AL.,
21           Plaintiffs,
22
                  v.
23
   BANK OF AMERICA
24 CORPORATION, ET. AL.;

25                Defendant.
26

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1                                               INTRODUCTION
2            This Court ordered Defendant Bank of America (“BofA” or “Bank”) to
3     show cause why plaintiffs’ motion for FLSA conditional certification should not be
4     granted under Campbell v. City of Los Angeles, 903 F.3d 1090 (9th Cir. 2018),
5     after considering plaintiffs’ motion to certify the Court’s November 27, 2018
6     Order denying FLSA conditional certification under 28 U.S.C. §1292(b). Dkt. 57
7     at 1. The Bank’s response to the OSC, which mostly repeats the arguments it
8     asserted before, contends that Campbell is irrelevant because the Ninth Circuit’s
9     analysis applies only at the second stage of FLSA certification, not the first stage,
10    as here. That argument is no more persuasive now than before, and this Court
11    should now grant conditional certification and order FLSA notice to be distributed
12    to the Bank’s financial center lending officers nationwide under 29 U.S.C. §216(b).
13           Campbell held that employees are “similarly situated” under the FLSA if
14    “they share a similar issue of law or fact material to the disposition of their FLSA
15    claim.” 903 F.3d at 1117. Under that holding, a court should permit a collective
16    action to proceed even when it is possible that some individualized issues may
17    come to light as the litigation moves forward. The Bank is simply wrong in its
18    assertion that the potential for any individualized issues to eventually arise dooms
19    a FLSA collective action from the outset.
20           The real reason for the Bank’s continued opposition to FLSA collective
21    certification here, even after Campbell, was revealed by the Bank’s February 15,
22    2019 response to the Court’s OSC, Dkt. 58. For the first time, the Bank has now
23    disclosed that even as it was aggressively opposing class and FLSA collective
24    certification in this case, it was negotiating with a group of New York lawyers to
25    transform their New York state law putative class action into a nationwide FLSA
26    collective action and multi-state state law class action and then to settle that case
27    on terms favorable to the New York lawyers but unfavorable to the Bank lending
28    officers whose FLSA and California law claims it sought to have released –

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1     including the FLSA claims and most of the California law claims at issue in this
2     case. Dkt. 58 at 7-8.
3             The FLSA and California law claims were added to the New York action on
4     January 23, 2019, without prior discovery into their merits, simply to settle and
5     release those claims. Until the Bank responded to this Court’s OSC on February
6     15, 2019, BofA did nothing to notify this Court of that pending action, in plain
7     violation of Local Rule 83-1.4.1.1 If the Bank has its way, its lending officers will
8     receive no FLSA notice from this Court, and will not receive an FLSA notice from
9     the New York court until after final settlement approval, many months from now,
10    because the proposed New York settlement is structured to delay any notice until
11    after the settlement is finalized when the Bank’s lending officers will be mailed a
12    check – apparently a very small check – and told that by cashing the check they
13    release all state and federal claims. Dkt. 58-1 at p. 22 of 70, ¶7. Plaintiffs here
14    doubt the New York court will grant preliminary approval to that settlement, and
15    are seeking to intervene to make their objections known. Whatever happens in
16    New York, though, this Court should follow Campbell and authorize the prompt
17    issuance of FLSA conditional certification notice. Otherwise, the Bank’s lending
18    officers will never know about the pendency of this case and their right to opt in
19    under Section 16(b) of the FLSA (because none of that information is included in
20    the proposed notice prepared by the parties in the sue-and-settle New York case).
21            The statute of limitations on each lending officer’s FLSA claim continues to
22    run until that employee files an individual Consent-to-Sue form. See 29 U.S.C.
23    §256. Any further delay in sending notice will further prejudice those employees’
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         Local Rule 83.-1.4.1 provides: “Whenever a civil action filed in or removed
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26 to this Court involves all or a material part of the subject matter of an action then
   pending before the United States Court of Appeals, Bankruptcy Appellate Panel,
27 Bankruptcy Court or any other federal or state court or administrative agency, the
   attorney shall file a ‘Notice of Pendency of Other Actions or Proceedings’ with the
28 original complaint or petition filed in this Court. The duty imposed by L.R. 83-1.4
   continues throughout the time an action is before this Court.” (Emphasis added).

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1     FLSA rights. Moreover, the proposed New York settlement is structured to
2     prevent potential collective action participants from obtaining notice of their FLSA
3     rights until well after the class settlement is finally approved (if it is approved),
4     with no protection for wage claims that are lost every day by the employees who
5     do not accept the New York settlement terms.
6           Plaintiffs are confident that under the circumstances of this case, there are
7     compelling reasons for the courts to equitably toll the FLSA statutes of limitations
8     for Bank lending officers. See, e.g., Beauperthuy v. 24 Hour Fitness USA, Inc.,
9     2007 WL 707475 at *8 (N.D. Cal. Mar. 6, 2007). But there is no guarantee,
10    meaning that any further delay threatens to substantially impair the interests of
11    potential collective action members, rewarding BofA for its double-dealing and
12    lack of candor with this Court.
13                                           ARGUMENT
14    I.    A Collective Action Should Be Conditionally Certified Under Campbell.
15          In its February 1, 2019 Order, this Court recognized that reconsideration of
16    its denial of FLSA conditional certification was appropriate in light of Campbell.
17    Dkt. 57 at 1. Nothing in BofA’s response undermines that conclusion.
18          Under the FLSA, employees who are “similarly situated” may pursue their
19    claims as a collective action. 29 U.S.C. §216(b). Campbell gave the district courts
20    much-needed guidance concerning the meaning of the term “similarly situated,”
21    explaining that employees are “similarly situated” when they are “alike with regard
22    to some material aspect of their litigation.” 903 F.3d at 1114 (emphasis in
23    original). Where employees share such a similarity, collective treatment of their
24    claims “may be to that extent appropriate, as it may to that extent facilitate the
25    collective litigation” of their claims. Id. at 1115 (emphasis in original); see also id.
26    at 1117 (“Party plaintiffs are similarly situated, and may proceed in a collective, to
27    the extent they share a similar issue of law or fact material to the disposition of
28    their FLSA claims.”).


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1           BofA urges this Court to ignore Campbell because it concerned a district
2     court’s order decertifying a collective action at the second step of the collective
3     certification process, making the Ninth Circuit’s analysis irrelevant at the first step
4     of the process. This argument is plainly wrong. The crux of the Ninth Circuit’s
5     decision in Campbell, as Plaintiff previously explained, is that court’s statutory
6     construction of “similarly situated” in 29 U.S.C. §216(b). That statutory term
7     cannot mean one thing at the first step of the collective certification process and
8     something completely different at the second step. Not surprisingly, district courts
9     have already recognized that Campbell’s construction of “similarly situated”
10    applies equally to both steps of the collective certification process. See Smothers v.
11    NorthStar Alarm Servs., LLC, 2019 WL 280294 at *2, 8 (E.D. Cal. Jan. 22, 2019)
12    (considering settlement agreement entered into before the court ruled on first-step
13    conditional certification motion); Campanelli v. Image First Healthcare Laundry
14    Specialists, Inc., 2018 WL 6727825 at *6 (N.D. Cal. Dec. 21, 2018) (“If plaintiff
15    makes a plausible showing” that Campbell’s “similarly situated” standard is
16    satisfied at the first step, collective certification should be granted).
17          As one of the first courts to apply Campbell explained, all that is necessary
18    to conditionally certify a FLSA collective action at this first step of the collective
19    certification process is evidence that employees have “similar jobs with similar
20    functions and were uniformly subject to [the same] compensation policies” that
21    gave rise to the alleged FLSA violations. Smothers, 2019 WL 280294 at *8 (citing
22    Campbell, 903 F.3d at 1117). Here, plaintiffs submitted evidence in support of
23    their collective certification motion showing that the Bank’s financial center
24    lending officers were subject to a uniform compensation plan; had similar jobs
25    with similar functions; spent more than half their time working in their assigned
26    offices rather than performing outside sales; and until November 2016 were
27    uniformly treated by the Bank as exempt from overtime (a consideration that can
28    even support class certification under the much stricter standards of Fed. R. Civ. P.


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1     23(b)(3), see In re Wells Fargo Home Mortgage Overtime Pay Litig., 571 F.3d
2     953, 957 (9th Cir. 2009)).2 Under the lenient “plausibility” standard governing the
3     first step of the collective certification process, Campbell, 903 F.3d at 1109-10,
4     that showing is entirely sufficient to warrant collective certification.
5             The Bank also urges this Court to ignore Campbell because it did not
6     involve an exemption defense. But nothing in Campbell suggests that the
7     “similarly situated” analysis should be any different if the employer intends to
8     assert an exemption defense than if it has some other defense. Rather, the only
9     question for the district court is whether employees are alike with respect to any
10    material aspect of their FLSA claims. Campbell, 903 F.3d at 1114, 1115, 1117. If
11    so, those employees are entitled to litigate collectively, at least to the extent
12    warranted by the collective issues. Id. at 1115.
13            The Bank’s argument that the application of its exemption defense to each
14    individual is the only issue that matters is thus completely contrary to Campbell’s
15    direction that FLSA claims may be litigated collectively to the extent they pose
16    common questions of law or fact, and that courts may not refuse collective
17    certification on the ground that individualized issues would predominate over
18    common ones. Id.3 Even if the Bank’s exemption defenses might later give rise to
19    individualized issues that could become material in the litigation, those issues do
20    not preclude this Court from certifying a collective action here, since other issues
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            See Dkt. 36-5, Exh.9, pp. 9-10 (43:25 – 44:18), Exh.10, pp. 43-44, 47-50, 52-
23    53, 56-57, 59, 61, 63 (15:6-15, 16:12-17, 19:17-22, 20:10-13, 21:11 – 22:1, 22:2-
      11, 22:17-21, 24:23 – 25:1, 25:11-12, 38:19 – 39:1, 42:8-20, 44:3-5, 54:14-19),
24    Exh.11, p.69, ¶2; Dkt. 36-8, ¶4; Dkt. 36-9, ¶4; Dkt. 36-10, ¶5; Dkt. 41, Exh.P, ¶4;
      and Dkt. 44, Exh.1, p.6 (68:10-14), Exh.2, pp.9-11 (19:8-12, 19:23 – 20:3, 21:6-
25    17), and Exhs. 3-6.
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            The Bank’s reliance on Vinole v. Countrywide Home Loans, Inc., 571 F.3d
      935 (9th Cir. 2009), and Wells Fargo, 571 F.3d 953, is for that reason misplaced.
27    Dkt. 58 at 5. Both cases concerned whether under Rule 23(b)(3) the defendants’
      exemption defenses gave rise to individualized issues that would predominate over
28    classwide issues. Rule 23’s predominance inquiry is irrelevant to the FLSA
      collective certification analysis. Campbell, 903 F.3d at 1112-13, 1115.

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1     material to the determination of employees’ FLSA claims are unquestionably
2     common to all employees.4
3             Finally, this Court should reject the Bank’s continued reliance on post-
4     deposition corrections to the repeated deposition testimony of its Rule 30(b)(6)
5     witness, Vijay Lala, that financial-center-based lending officers spent more than
6     half their time working in their assigned offices rather than performing outside
7     sales. See Dkt. 58 at 5 n.2; compare deposition testimony discussed at Dkt. 51 at
8     20-22. The Bank’s post-deposition changes to Lala’s testimony, on which this
9     Court previously relied (Dkt. 46 at 25-26), muddied Lala’s testimony from his
10    clear admissions that lending officers’ job duties did not subject them to the federal
11    outside sales exemption, to more ambiguous responses suggesting that
12    individualized inquiries might be necessary to determine whether lending officers
13    work primarily in their assigned offices or in the field. Campbell precludes the
14    Court from crediting the post-deposition corrections over the testimony itself for
15    purposes of the FLSA. As Campbell explains, a district court may not weigh
16    conflicting evidence even at the second step of the collective certification process,
17    after discovery has been completed. 903 F.3d at 1119. Logic therefore precludes a
18    court from doing so at the first step, which applies the lenient “plausibility”
19    standard to the question whether employees are “similarly situated.”5
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21        4
            This Court based its November 27, 2018 FLSA ruling on the Bank’s outside
22    sales exemption defense only. Dkt. 46 at 25-26. As plaintiffs have explained, the
      Bank’s other exemption defenses (Dkt. 57 at 6) present entirely common issues of
23    law and fact and plainly do not apply to financial center lending officers. See Dkt.
      51 at 28-30 (discussing administrative and “highly compensated employee”
24    exemptions).
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            See also Aguayo v. Oldenkamp Trucking, 2005 WL 2436477 at *4 (E.D. Cal.
25    Oct. 3, 2005) (making first-step “similarly situated” determination based on two
      plaintiff declarations notwithstanding defendants’ hearsay and foundation
26    objections, while recognizing that declarants’ testimony might not be sufficient to
      satisfy plaintiffs’ burden of proof at trial); Sexton v. Franklin First Fin. Ltd., 2009
27    WL 1706535 at *6-7 (E.D.N.Y. June 16, 2009) (declining, in first-step “similarly
      situated” determination, to resolve credibility challenges to plaintiffs’ declarations;
28    collecting cases); Ballaris v. Wacker Siltronic, 2001 WL 1335809 at *2-3 (D. Or.
      Aug. 24, 2001) (declining to adjudicate potential differences among employees in

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      II.   There Is No Reason to Delay Collective Certification and Notice to
1           Potential Collective Action Participants.
2           The Bank revealed for the first time in its February 15, 2019 OSC response
3     that while it was fighting collective certification here, it was busy converting a
4     New York state-law lawsuit, Flanagan v. Bank of America, No. 613647/2018
5     (N.Y. Sup. Ct.), into a nationwide FLSA/multi-state class and collective action for
6     purpose of settling all of the covered lending officers’ claims under the FLSA,
7     New York, California, and Massachusetts law. None of those FLSA or non-New
8     York claims were included in the original complaint or the First Amended
9     Complaint in the New York case, and were not added until the Bank recently
10    agreed with the New York plaintiffs’ lawyers to stipulate to a Second Amended
11    Complaint in conjunction with their proposed settlement. Haffner Decl., ¶¶2-4 &
12    Exhs.1-3 [Flanagan Complaint, FAC and SAC]; Dkt. 58-1 at p. 41 of 70, ¶2.A.
13          In plain violation of this Court’s rule that parties must disclose any related
14    cases pending in any other court, L.R. 83-1.4.1, the Bank failed to disclose the
15    existence of Flanagan or the expanded sue-and-settle scheme in Flanagan to this
16    Court or to plaintiffs until February 15, 2019. (The Bank also concealed the
17    existence of Tripes v. Bank of America, S.D. Cal. Case No. 3:18-cv-01250-JM-
18    RBB, filed in June 2018, which was disclosed for the first time in the Flanagan
19    preliminary approval papers, Dkt. 58-1 at p. 14 of 70, n.4; see Haffner Decl., ¶5 &
20    Exh.4.)
21          In an effort to capitalize on its wrongful conduct and lack of candor, the
22    Bank now seeks to deter or delay the issuance of an FLSA collective action notice
23    from this Court (even though the Bank’s position in Flanagan obviously
24    acknowledges that its lending officers are “similarly situated” as a matter of
25    federal and state law). While the Bank confidently asserts that its New York
26    settlement will be approved and that the “overwhelming majority” of lending
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28    the first-step “similarly situated” determination while acknowledging that such
      differences might exist).

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1     officers will release their FLSA claims, making FLSA notice here unnecessary,
2     Dkt. 58 at 7-8, that is far from a foregone conclusion. Plaintiffs here are preparing
3     to move to intervene in the New York action, and will explain why the settlement
4     substantially undervalues the California class claims and the nationwide FLSA
5     collective claim. Haffner Decl., ¶6-10; Exh.5-7 [judgment and breakdown of class
6     judgment in Ibarra v. Wells Fargo]. Meanwhile, notice to employees of the New
7     York FLSA settlement is tied to the date for final settlement approval (Dkt. 58-1 at
8     p. 22 of 70, ¶7; id. at p. 42-43 of 70, ¶C.1), which could be well in the future, if it
9     happens at all. Because the statute of limitations on each employee’s FLSA claim
10    continues to run until that individual files a Consent to Sue, 29 U.S.C. §256,
11    postponing notice to employees of this FLSA action pending the lengthy settlement
12    approval process in the New York trial court threatens to substantially harm the
13    interests of all potential collective action participants who do not accept the New
14    York settlement (if the settlement approval process ever gets that far).
15          Several months have passed since this Court denied conditional FLSA
16    certification. In light of Campbell, and given the consequences to the Bank’s
17    lending officers of not receiving timely notice of their FLSA rights, this Court
18    should promptly conditionally certify the FLSA collective action and issue notice
19    to lending officers, before their statutes of limitations run even further.
20                                         CONCLUSION
21          For the foregoing reasons and those stated in plaintiffs’ previous briefing in
22    support of the motion for collective certification (Dkt. 36-1, 43) and motion to
23    certify the Court’s November 27, 2018 Order for interlocutory appeal (Dkt. 51,
24    54), this Court should grant conditional certification of the proposed FLSA
25    collective action and order notice of this action to issue to all financial center
26    lending officers nationwide without further delay.
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      DATED: February 20, 2019                      HAFFNER LAW PC
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                                                    By: /s/ Joshua H. Haffner


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                           Plaintiffs’ Reply in Response to Feb. 1, 2019 Order
